850 F.2d 689Unpublished DispositionNOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Robert Clifton JOHNSON, Jr., Plaintiff-Appellant,v.Brian COWLEY, M.D., Defendant-Appellee.
    No. 88-6566.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 26, 1988.Decided:  June 20, 1988.
    
      Robert Clifton Johnson, appellant pro se.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Clifton Johnson, Jr., seeks to appeal the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Johnson v. Cowley, C/A No. 87-3440-N (Jan. 11, 1988).  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      2
      AFFIRMED.
    
    